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                                            ATTACHMENT A

I, Aaron Green, being duly sworn, depose and state that:

     1. I have been a Special Agent with the United States Department of Justice, Bureau of Alcohol,
        Tobacco, Firearms and Explosives (ATF) since November of 2017. I am a graduate of the
        ATF National Academy Special Agent Basic Training Program and the Federal Law
        Enforcement Training Center, Criminal Investigator Training Program. I was a member of
        the Federal Air Marshal Service, with the Department of Homeland Security, from
        December 2010 to July 2016 and a graduate of the Federal Law Enforcement Training
        Center, Federal Air Marshal Training Program. I worked as a patrol officer for the
        Columbus Police Department in Columbus, Ohio, from December 2000 to December 2010,
        and from April 1998 to December 2000 I was employed as a patrol officer for the Suffolk
        Police Department in Suffolk, Virginia. As a result of my training and experience as an ATF
        Special Agent, I am familiar with federal criminal laws pertaining to firearms violations. As
        a Special Agent, I am also authorized to carry firearms, execute warrants, make arrests for
        offenses against the United States, and perform other such duties as authorized by law.

     2. This affidavit is made in support of a criminal complaint against Thomas M. DEVELIN,
        for violations of the following statutes:

               x    18 U.S.C. § 922(a)(1)(A), Engaging in the Business Without a License (Firearms)
                    – unless a person is a licensed importer, manufacturer or dealer, it is unlawful to
                    engage in the business of importing, manufacturing, or dealing in firearms, or in
                    the course of such business to ship, transport, or receive any firearm in interstate or
                    foreign commerce;

               x    18 U.S.C. § 922(o), Illegal Possession of a Machine Gun – it shall be unlawful for
                    any person to transfer or possess a machinegun absent specific exceptions not
                    pertinent herein;

               x    26 U.S.C. § 5861(a), Failure to Register as a Dealer, Manufacturer, or Importer, or
                    to Pay Required Tax – it shall be unlawful for any person to engage in business as
                    a manufacturer or importer of, or dealer in, firearms without having paid the special
                    tax required by 26 U.S.C. § 5801 for his business or having registered as required
                    by 26 U.S.C. § 5802;

               x    26 U.S.C. § 5861(c), Receipt or Possession of Firearm Made in Violation of NFA
                    – it shall be unlawful for any person to receive or possess a firearm made in
                    violation of the provisions of Chapter 53, Title 26;

               x    26 U.S.C. § 5861(f), Make a Firearm in Violation of NFA – it shall be unlawful for
                    any person to make a firearm in violation of the provisions of Chapter 53, Title 26.

          The statements in this affidavit are based upon my training and experience, consultation
          with other experienced investigators and agents, review of related police reports, and other
          sources of information relative to firearms investigations. This affidavit is intended to set
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         forth probable cause in support of the criminal complaint and does not purport to set forth
         all of my knowledge regarding this investigation.

    3. In or about March 2022, the Columbus Ohio Division of Police Counter Terrorism Unit
       initiated an investigation into Discord chat messages provided by the Ohio Statewide
       Terrorism and Analysis Center and Ohio Army National Guard. Discord is an instant
       messaging social platform that allows users to communicate via talk, text, and video. Based
       upon the screenshots of these messages, which date back to approximately October 2021,
       and a follow-up investigation, members of the group are largely part of the Ohio Army
       National Guard and used a Discord chat group to communicate with each other. Thomas
       M. DEVELIN was a major contributor to the messages exchanged on the Discord chat
       group.

    4. Your affiant notes that DEVELIN was enlisted with the Ohio National Guard at the time
       of these events and also employed for the security company Sahara Global Security. Sahara
       Global is a private security company which often provides armed security to various Jewish
       facilities throughout the Columbus area.

    5. An examination of the screenshots recovered from the Discord messages revealed a large
       quantity of antisemitic, white nationalist, racist, and misogynistic content that is consistent
       with that of racially motivated violent extremist and incel violent extremist content. As the
       investigation continued, and as set forth in greater detail below, investigators discovered
       similar content in the form of pictures and posts on DEVELIN’s Snapchat account as well.




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    6. DEVELIN, using the screen name Patrick Bateman 1, posted the following antisemitic
       messages on the Discord group chat:

              a. On September 27, 2021, DEVELIN created and posted the following photo in
                 reference to a possible active shooter situation at the Jewish synagogue where he
                 was working at the time:




              b. On January 28, 2022, DEVELIN posted a photo of Temple Beth Shalom
                 synagogue, located in New Albany, Ohio, with the text, “The holocaust didn’t
                 happen,” and “If anything I’ll scream 6 million wasn’t enough.”




1
  Your affiant is aware, and DEVELIN acknowledged in a post-Mirandized interview, that Patrick Bateman is a
fictional character and the villain protagonist and narrator of the novel American Psycho.

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              c. On March 11, 2022, DEVELIN posted, “I’m at a Jewish school and I’m about to
                 make it everyone’s problem.” Shortly after stating, “The playground is about to
                 turn into a self-defense situation.” In the context of the group chat, a “self-defense
                 situation” is clearly referenced multiple times and is meant to be a reference to
                 being involved in a shooting. He also posted, “Simultaneously I will shoot the next
                 parent dropping their kid off at the school. Really need to get on their radar at the
                 ATF that we aren’t fucking around.” Accompanied with these posts was a photo
                 depicting a Glock handgun on his lap.




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    7. DEVELIN also made the following antisemitic posts on his Snapchat account:

              a. On November 21, 2021, DEVELIN created and posted a Snapchat video of himself
                 sniffing a rifle. In the video DEVELIN says, “This one smells like dead Jews”. The
                 following is a screenshot of a portion of that video:




              b. On November 21, 2021, DEVELIN created and posted a Snapchat video titled
                 “Jewish Women” in which he was holding a firearm aimed in the direction of
                 unknown individuals. Employment records from Sahara Global LLC, where
                 DEVELIN worked, indicate DEVELIN was working at Temple Israel, located in




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                   Columbus, Ohio, at the time of the video. The following is a screenshot of a portion
                   of that video:




              c. On March 11, 2022, DEVELIN took the following Snapchat photo displaying a
                 firearm at a Jewish school. Geolocation data from Snapchat indicates DEVELIN
                 was at the Columbus Torah Academy, located in Columbus, Ohio, at the time the
                 photo was taken. The CEO of the security company where DEVELIN was
                 employed confirmed that DEVELIN predominately worked at religious locations
                 and identified the Glock 19X posted by DEVELIN in the picture below as
                 belonging to DEVELIN. The photograph was also displayed in the Discord chat
                 group.




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    8. On Discord, DEVELIN also posted the following racist messages in the chat group:

              a. On February 5, 2022, DEVELIN posted, “we’re about to hunt niggers on night
                 patrol in Columbus. Someone’s gotta work the beat and hold the line.”




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              b. On February 17, 2022, DEVELIN posted the following image:




    9. On Discord, DEVELIN posted the following misogynistic messages:

              a. On December 13, 2021, DEVELIN posted the following image:




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              b. On January 2, 2022, DEVELIN posted the following image:




              c. On February 8, 2022, DEVELIN posted, “I’ve become so radicalized against
                 women that I’ve forgotten how to act rationally around them when one of them
                 decides it’s a good idea to speak to me.”




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              d. On February 17, 2022, DEVELIN posted the following image:




              e. On February 18, 2022, DEVELIN posted the following image:




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    10. DEVELIN posted the following messages on Discord concerning terrorism or terroristic
        threats:

              a. On October 18, 2021, DEVELIN posted the following image:




              b. On December 16, 2021, DEVELIN and Person A also discussed traveling to John
                 Glenn airport. Person A stated he would go to any towers that happen to be close
                 together. DEVELIN suggested the brewery off of Interstate 270, which is a
                 Budweiser manufacturing facility. DEVELIN posted pictures of the facility and
                 Person A replied that he, “Hope they got a terrorism insurance plan the day before.
                 My elven overlords bid me to destroy the tower.” Your affiant believes this
                 conversation was in reference to the September 11, 2001 terrorist attacks
                 perpetrated on the Twin Towers in New York. In part as a result of these acts,
                 DEVELIN has been charged in the Franklin County Court of Common Pleas with
                 2 counts of Making Terroristic Threats, 2 counts of Possession of a Dangerous
                 Ordnance, and 1 count of Tampering With Evidence.




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              c. On December 21, 2021, DEVELIN posted, “Ight, time to turn wright pat airbase
                 into Fort hood in 2009.”




                   Your affiant believes the post is in reference to the November 5, 2009 domestic
                   terrorist attack in which 13 people were killed and more than 30 others were
                   wounded, nearly all of them unarmed soldiers, when a U.S. Army officer went on
                   a shooting rampage at Fort Hood in central Texas. The deadly assault, carried out
                   by Major Nidal Malik Hasan, an Army psychiatrist, was the worst mass shooting
                   at a U.S. military installation.

              d. On March 15, 2022, DEVELIN posted, “If the military actually ever decides to
                 crack down on extremists, they’re going to have to kick at least half of us out”.

    11. On March 31, 2022, law enforcement executed search and arrest warrants at the residence
        of DEVELIN, an apartment on Brentwood Circle, Columbus, Ohio. Review of a cell phone
        seized during execution of the warrants showed that on March 12, 2022, DEVELIN
        conducted a cellular phone web search for the Christchurch New Zealand Terrorist Mosque
        Attack from 2019 which was committed by Brenton Tarrant. Tarrant wrote words and
        phrases on the firearms and magazines reflecting extreme right-wing and ethno-nationalist
        ideology using short-hand terms intended to be recognizable and meaningful to those
        aligned with that same ideology. On December 9, 2021, DEVELIN made a video showing
        a modified AR15 magazine to mimic this (see screenshots from the video below).
        Additionally, the CPD Digital Forensics Unit (DFU) conducted a full forensic extraction
        of DEVELIN’S Lenovo Laptop computer which was seized on March 31, 2022. The
        examination showed matching results/web related searches for the Christchurch New
        Zealand Terrorist Mosque Attack at least 87 times.




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    12. On several occasions DEVELIN posted videos to his Snapchat account depicting him
        pointing firearms at unknown persons, including the following:

              a. On November 18, 2022, DEVELIN created and recorded a Snapchat video showing
                 an unknown individual walking a dog as DEVELIN pointed a rifle at the person
                 from his balcony. The following is a screenshot of a portion of that video:




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              b. On November 28, 2021, DEVELIN posted the following Snapchat photo of a rifle
                 inside his residence pointed out at houses/apartments across from his location:




              c. On February 24, 2022, at 6:39 a.m., DEVELIN created and posted a Snapchat video
                 of him driving on an unknown roadway as he zooms his camera in on what appears
                 to be a law enforcement vehicle while pointing a firearm at the vehicle. At 6:41
                 a.m., DEVELIN posted another video in which he stated, “Some lady honked at me
                 while I was holding my gun in my hand because I was swerving, and I look over
                 next to her as she passes me with a gun in my hand and then she stopped trying to




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                   pass me and got back behind me instead. Weird.” The following is a screenshot of
                   a portion of that video:




    13. In a prior incident, the Morgan County Sheriff’s Office seized firearms belonging to
        DEVELIN. On January 25, 2022, in the Discord chat, DEVELIN and Person A also
        discussed the possibility of getting some of DEVELIN’s guns back from the Morgan
        County Sheriff’s Office. DEVELIN posted a photo displaying the application of war paint
        for when he goes to the sheriff’s office, and Person A replied with, “No survivors”. The
        conversation also included statements that a deputy’s entire family should be killed, and
        the corpses should be hung for all to see. The following posts are from the Discord chat
        group:




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    14. DEVELIN also posted and texted frequently about his manufacture, possession, and selling
        of firearms, as described below:

              a. On February 7, 2022, DEVELIN posted on Discord that “‘It’s all the same charge
                 after the first felony’ I realized that after I didn’t feel like turning my bump stock
                 in.”




              b. On February 8, 2022, DEVELIN also posted in the Discord chat group a photo of
                 a 3D printed Glock and attempted to sell it for $400:




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    15. On March 31, 2022, as noted above, Investigators executed search and arrest warrants at
        DEVELIN’s residence in Columbus, Ohio. DEVELIN was located inside and taken into
        custody on state charges. Upon a search of the residence, multiple firearms were
        discovered, along with a 3D printer known to investigators as a Privately Made Firearm
        (PMF) “Ghost Gun” printer. From my training and experience, I know that “Ghost Guns”
        are untraceable homemade weapons that can be made in whole or in part with a 3D printer.
        Investigators also discovered multiple firearms manufacturing materials inside the
        residence.

    16. While in custody, your affiant interviewed DEVELIN who had previously been
        Mirandized and agreed to speak with your affiant. The following is a synopsis of the video
        recorded interview:

              a. DEVELIN stated that he began making Ghost Guns around 2020 with the intent to
                 sell them for profit. DEVELIN conducted the research online and purchased the 3D
                 printer to manufacture the Ghost Guns to sell to people he knew. DEVELIN stated
                 that he did not advertise them on any online sources, and he was still in possession
                 of at least four of the eight or so that he manufactured.

              b. DEVELIN stated that on Monday, March 28, 2022, he knew law enforcement may
                 be coming for him and he went to the residence/cabin of Person A, located on
                 Goshen Run, Chesterhill, Ohio, which is in the Southern District of Ohio, to hide
                 multiple Ghost Guns, a Bump Stock, an unfinished firearm frame, and a Military
                 Improvised Explosive Devices (IED) instruction manual. DEVELIN placed them
                 in a tote and hid them in the tree line on the property under a blanket, which
                 DEVELIN pointed to on a map provided by me. DEVELIN stated the cabin
                 belonged to Person A’s family and that Person A was also present at the residence
                 when he arrived and was aware of the items that were placed on his property.

              c. DEVELIN stated that on Tuesday, March 29, 2022, he returned to Person A’s
                 residence to burn other illegal firearms parts in a firepit, located on Person A’s
                 property. DEVELIN stated he burned the items because he did not want to have
                 them in his possession.

              d. DEVELIN also stated that he manufactured and sold six “lowers” that he knew
                 were illegal to an unknown individual he met through a mutual acquaintance.

              e. DEVELIN acknowledged that he was one of the people on the Discord chat group
                 that that he had been in additional chats relating to firearms manufacturing and that
                 he was not proud of the things he wrote in the chat. DEVELIN also voluntarily
                 wrote down multiple online sites where he obtained firearms/Ghost Gun
                 information that would be found on his cell phone and computer.

    17. On April 4, 2022, ATF executed a federal search warrant at an address on Goshen Run Rd.,
        which includes Person A’s property. During the search, a Federal Canine Agent and dog
        were deployed to assist with the search of the items. The dog sniffed around the firepit
        where DEVELIN stated various items were burned days prior. The dog alerted to items

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         within the firepit and a partially burned ammunition box and some unknown metal parts
         were recovered as evidence. The Federal Canine Agent and dog then went over to a trash
         pile in a tree line area that DEVELIN pointed out as the place DEVELIN had hidden
         multiple firearms, a bump stock, and two IED Manuals. The dog alerted on a clear Sterlite
         “Tote” box which had a black garbage bag inside. The tote was found under a piece of
         carpet. SA Green looked inside the garbage bag and observed multiple firearms, firearms
         parts, and the IED manuals as DEVELIN described in his interview.

    18. On April 1, 2022, the CPD Digital Forensics Unit (DFU) conducted a full forensic
        extraction of DEVELIN’S Samsung SM-G991U cellular device, which was seized on
        March 31, 2022, at DEVELIN’s residence. The following screen shots were taken from the
        extraction which show some of the illegal firearm manufacturing and sales messages and
        photos between DEVELIN and others:




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              a. The auto sear, known by various trade names including “AR15 Auto Sear,” “Drop
                 In Auto Sear,” and “Auto Sear II,” is a combination of parts designed and intended
                 for use in converting a weapon to shoot automatically more than one shot, without
                 manual reloading, by a single function of the trigger. Consequently, the auto sear
                 is a machinegun as defined by 26 U.S.C. § 5845(b).



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              b. A lower receiver (frame) is that part of a firearm which provides housing for the
                 hammer, bolt or breechblock, and firing mechanism, and which is usually threaded
                 at its forward portion to receive the barrel.




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         This screenshot displays a portion of a 3D printer, and the message indicates that
         DEVELIN is using the 3D printer to manufacture two lowers for a customer.




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         This photo appears to depict 5 3D-printed AR-15 lowers.




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         The National Firearms Act (NFA) defines the specific types of firearms subject to the
         provisions of the Act, including machineguns, silencers, destructive devices, and more.
         The NFA imposes additional regulations on such firearms, beyond those applicable to other
         firearms. The attached photo appears to represent an “any other weapon” (AOW) due to
         the attachment of a foregrip to a handgun. This would “remanufacture” the weapon from a
         one-handed firearm to a two-handed firearm with an overall length under 26 inches. This
         makes the item an AOW under the NFA and as such subject to NFA regulations. Your
         affiant believes this photo is an example of DEVELIN’s knowledge, capabilities, and
         expertise in creating illegal NFA weapons.




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         Your affiant believes this message thread displays some of the knowledge DEVELIN
         possesses regarding manufacturing privately made firearms and the supplies needed to do
         so.




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         This is text message correspondence between DEVELIN and another individual in
         reference to DEVELIN manufacturing and selling firearms to/for others.

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         This is the firearm DEVELIN referenced for sale/manufacture in the YouTube link
         above.




         This is text message correspondence between DEVELIN and another individual in
         reference to DEVELIN manufacturing and selling 5 AR-15 lowers for/to others.

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         This is text message correspondence between DEVELIN and another individual in
         reference to DEVELIN manufacturing and selling a Glock 19 firearm.




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         DEVELIN references the fact that he will use his 3D printer for financial gains once it is
         fixed.




                                                 33
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         DEVELIN references the Discord chat group and selling “machine guns to felons and
         gangbangers.”




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         This is text message correspondence between DEVELIN and another individual in
         reference to DEVELIN manufacturing and selling sears (machine guns) to/for others.




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         DEVELIN references that fact that he delivered the first of two AK rifles and has
         received money for them.




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    19. On November 8, 2021, DEVELIN posted the following photo of a 3D printed Claymore
        explosive device in the Discord chat group:




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    20. On March 28, 2022, DEVELIN and Person B participated in the following Telegram chat
        regarding a potential criminal case against DEVELIN and others. They discuss
        incriminating evidence and DEVELIN represents that he is hiding or destroying such
        evidence. The following screen shots captured the conversation prior to them being erased
        by the Telegram application, with messages from DEVELIN displayed on the right and
        messages from Person B displayed on the left:




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    21. Your affiant submitted several items that were seized from DEVELIN to the ATF
        Firearms Technology Criminal Branch. On June 7, 2022, the ATF Firearms Technology
        Criminal Branch rendered the official Report of Technical Examination of the items. The
        report made the following findings:

              a. An item seized from the property on Goshen Run, Chesterhill, Ohio, was a .40-
                 caliber PMF bearing no serial number and made from a 3D printed material. Based
                 on examination and a test fire, the item meets the legal definition of a “firearm”
                 under 18 U.S.C. § 922(a)(3)(A) and (B).

              b. An item seized from the property on Goshen Run, Chesterhill, Ohio, was a 9x19mm
                 caliber PMF bearing no serial number and made from a 3D printed material. Based
                 on examination and a test fire, the item meets the legal definition of a “firearm”
                 under 18 U.S.C. § 922(a)(3)(A) and (B).

              c. An item seized from the property on Goshen Run, Chesterhill, Ohio, was another
                 9x19mm caliber PMF bearing no serial number and made from a 3D printed
                 material. Based on examination and a test fire, the item meets the legal definition
                 of a “firearm” under 18 U.S.C. § 922(a)(3)(A) and (B).



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              d. An item seized from DEVELIN’s residence was another 9x19mm caliber PMF
                 bearing no serial number and made from a Polymer80 brand kit. Based on
                 examination and a test fire, the item meets the legal definition of a “firearm” under
                 18 U.S.C. § 922(a)(3)(A) and (B).

              e. Three items seized from DEVELIN’s residence were homemade machinegun
                 conversion devices for an AR-type firearm, made from two pieces of heavy gauge
                 metal wire clothes hangers. The devices were designed and intended for use in
                 converting semi-automatic AR-15 rifles into fully automatic machineguns. Because
                 the three items were combinations of parts designed and intended for use in
                 converting a weapon into a machinegun, each item qualifies as a “machinegun” as
                 defined in 26 U.S.C. § 5845(b). Being machineguns, they are also each a “firearm”
                 under the definition in 26 U.S.C. § 5845(a)(6). These items did not bear any
                 manufacturer’s marks of identification or serial numbers as required by law.

              f. One item seized from DEVELIN’s residence was a 3D-printed Glock switch—that
                 is, a machinegun conversion device for a Glock-type pistol. The device converts a
                 semi-automatic Glock-type pistol into a fully automatic machinegun. Because the
                 item was a combination of parts designed and intended for use in converting a
                 weapon into a machinegun, it qualifies as a “machinegun” as defined in 26 U.S.C.
                 § 5845(b). Being a machinegun, it is also a “firearm” under the definition in 26
                 U.S.C. § 5845(a)(6). The item did not bear any manufacturer’s mark of
                 identification or serial number as required by law.

    22. On April 5, 2022, your affiant conducted a National Firearm Registration and Transfer
        Records check on DEVELIN which revealed that DEVELIN does not have any registered
        NFA weapons, to include the four classified machineguns. A Federal Firearms Licensee
        (FFL) check was also conducted on DEVELIN that showed that DEVELIN does not have
        and has not had a license to sell firearms.

    23. During the search and arrest warrants at DEVELIN’s residence on March 31, 2022, nine
        firearms were recovered from DEVELIN’S vehicle. In the vehicle, there were also
        ballistic plates, night vision goggles, a ballistic helmet, prep equipment and first aid
        equipment, and a large quantity of ammunition including several loaded magazines and a
        large container of rifle ammunition totaling nearly 1,000 rounds. Seventeen firearms were
        also recovered from the residence, along with multiple boxes full of ammunition which
        held hundreds of rounds of ammunition.

    24. Your affiant states that the offenses occurred in the Southern District of Ohio.




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    25. Based upon the aforementioned information and events, and your affiant’s training and
        experience in dealing with federal firearms violations, your affiant believes that probable
        cause exists to believe that on or around January 1, 2020 to March 31, 2022, Thomas M.
        DEVELIN, did knowingly violate 18 U.S.C. § 922(a)(1)(A) (Engaging in the Business
        Without a License (Firearms)), 18 U.S.C. § 922(o) (Illegal Possession of a Machine Gun),
        26 U.S.C. § 5861(a) (Failure to Register as a Dealer, Manufacturer, or Importer, or to Pay
        Required Tax), 26 U.S.C. § 5861(c) (Receipt or Possession of Firearm Made in Violation
        of NFA), and 26 U.S.C. § 5861(f) (Make a Firearm in Violation of NFA).




Aaron Green
      Green,
          n ATF Sp
                Special Agent




Sworn to before me and signed in my presence.



                                                                     6/28/2022
Honorable
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           Chelsey
            hel
              e sey M. Vascura                                      Date
United
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       St t M Magistrate
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